Executive Division                                                                    Phone: 512-463-5770
Capitol Building, IE.8                                                                  Fax: 512-475-2761
P.O. Box 12697                                                               Dial 7-1-1 For Relay Services
Austin, Texas 78711-2697                                                               www,sos.state.tx.us




                                         February 13, 2019




Dear

Last week, I was deeply humbled to appear before the Texas Senate Committee on Nominations
to discuss my qualifications to serve as Texas' 112th Secretary of State.

In succeeding all of the outstanding men and women who have served in this position, I have
sought to demonstrate to all Texans that Jam prepared to take on the responsibilities of the job.

The cornerstone upon which our nation is founded the right to vote must be supported by a
strong foundation of laws, a code of ethics, and an assurance that everyone who participates in
our democracy plays by the same rules.

The Secretary of State is required by law to ensure that voter rolls are accurate and do not
include persons who are ineligible to vote while ensuring that all eligible voters can participate in
the electoral process. The tasks are complementary: they promote integrity in elections and that,
in turn, promotes voter turnout. Democracy in Texas will be strengthened and will endure by
striving to achieve two goals: protecting the integrity of elections and combating voter
suppression. I will never waver in my commitment to achieving those goals.         .




Regardless of whether voters were born in the United States or have dedicated themselves to
become naturalized U.S. citizens, all eligible Texans deserve to have their voices heard in our
democracy. I will faithfully and fully discharge my duty to ensure everyone who is qualified to
vote has access to the ballot box.

As Secretary of State, it is my responsibility to ensure that no eligible voters are discouraged
from exercising their most fundamental right.

Last month, my office announced the beginning of a list maintenance process, in accordance
with state and federal law, to ensure the accuracy of our state's voter rolls. The purpose is to
make sure that every single eligible voter has a voice at the ballot box, and that voters who have
not attained citizenship do not register and cast ballots in Texas elections.




                                         Attachment B
                                     (TX-LULAC Exhibit 54)
February 13, 2019
Page 2


From the beginning, my intent has been to promote maximum transparency to the public. Like
any state agency, we are held accountable to the Texans we serve on a daily basis.

As Texas Secretary of State, I expect to be held accountable every day for my service to the
voters of Texas.

After close consultation with the Texas Department of Public Safety (DPS), the counties, and
members of the Texas Legislature, I have discovered that additional refining of the data my
office provides to county voter registrars, both in substance and in timing, is necessary to ensure
a more accurate and efficient list maintenance process.

My office devoted significant time and effort to educating local registrars about the upcoming
list maintenance activity. In hindsight, however, before announcing the nuffiber of people who
may not be eligible to vote, more time should have been devoted to additional communication
with the counties and DPS to further eliminate anyone from our original list who is, in fact,
eligible to vote. Moreover, the announcement could have been communicated better by including
more substance from the election advisory, and by emphasizing my goal to ensure that no
qualified voters are removed from the rolls. I recognize this caused some confusion about our
intentions, which were at all times aimed at maintaining the accuracy and integrity of the voter
rolls. To the extent my actions missed that mark, I apologize.

I want to personally commit to you and your constituents that I will do everything in my power
as Texas Secretary of State to protect all eligible Texans' right to vote, and to provide regular
and transparent updates on the progress of my office's ongoing list maintenance activities.

I am committed to serving honorably and working with you to help address the challenges of
maintaining a free and fair electoral system. I hope to engage more Texans than ever before in
the democratic process, and to continue protecting our most cherished right.


Sincerely,




David Whitley
Texas Secretary of State
